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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


MOV-ology LLC                                           Civil Action No. 6:23-cv-00391-ADA
                      Plaintiff,

       v.

Temenos AG,                                             Jury Trial Demanded
Temenos U.S.A., Inc.,
Temenos Cloud Americas, LLC,
Avoka (USA), Inc., and
Kony, Inc.,
                      Defendants.



                                    Court’s Scheduling Order

       The Court GRANTS the joint motion for entry of scheduling order deadlines (ECF No.

32) and ORDERS that the following deadlines will govern the schedule of this case.

         Deadline                                           Item

                             Deadline to file a motion for inter-district transfer. After this
   September 21, 2023        deadline, movants must seek leave of Court and show good cause
                             for the delay.

                             Defendants serve preliminary invalidity contentions in the form of
                             (1) a chart setting forth where in the prior art references each
                             element of the asserted claim(s) are found, (2) an identification of
                             any limitations the Defendant contends are indefinite or lack
                             written description under section 112, and (3) an identification of
     October 19, 2023
                             any claims the Defendant contends are directed to ineligible
                             subject matter under section 101. Defendant shall also produce (1)
                             all prior art referenced in the invalidity contentions, and (2)
                             technical documents, including software where applicable,
                             sufficient to show the operation of the accused product(s).

    November 2, 2023         Parties exchange claim terms for construction.

   November 16, 2023         Parties exchange proposed claim constructions.



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    Deadline                                        Item

                    Parties disclose extrinsic evidence. The parties shall disclose any
                    extrinsic evidence, including the identity of any expert witness
                    they may rely upon with respect to claim construction or
                    indefiniteness. With respect to any expert identified, the parties
November 22, 2023
                    shall identify the scope of the topics for the witness’s expected
                    testimony.8 With respect to items of extrinsic evidence, the parties
                    shall identify each such item by production number or produce a
                    copy of any such item if not previously produced.

                    Deadline to meet and confer to narrow terms in dispute and
November 30, 2023
                    exchange revised list of terms/constructions.

                    Defendants file Opening claim construction brief, including any
December 7, 2023
                    arguments that any claim terms are indefinite.

December 28, 2023   Plaintiff files Responsive claim construction brief.

 January 11, 2024   Defendants file Reply claim construction brief.

                    Parties to jointly email the law clerk:
                    Txwdml_lawclerks_wa_judgealbright@txwd.uscourts.gov to
 January 11, 2024
                    confirm their Markman date, and to notify if any venue or
                    jurisdictional motion remain unripe for resolution.

 January 25, 2024   Plaintiff files a Sur-Reply claim construction brief.

                    Parties submit Joint Claim Construction Statement and email the
                    law clerks an editable copy.
 January 28, 2024
                    See General Issues Note #7 regarding providing copies of the
                    briefing to the Court and the technical adviser (if appointed).

                    Parties submit optional technical tutorials to the Court and
 January 29, 2024
                    technical adviser (if appointed).

                    Markman Hearing at 9:00 a.m. This date is a placeholder and the
 February 8, 2024
                    Court may adjust this date as the Markman hearing approaches.

                    Fact Discovery opens; deadline to serve Initial Disclosures per
 February 9, 2024
                    Rule 26(a).

 March 21, 2024     Deadline to add parties.




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    Deadline                                         Item

                     Deadline to serve Final Infringement and Invalidity Contentions.
                     After this date, leave of Court is required for any amendment to
  April 4, 2024      infringement or invalidity contentions. This deadline does not
                     relieve the parties of their obligation to seasonably amend if new
                     information is identified after initial contentions.

                     Deadline to amend pleadings. A motion is not required unless the
  May 30, 2024       amendment adds patents or patent claims. (Note: This includes
                     amendments in response to a 12(c) motion.)

                     Deadline for the first of two meet and confers to discuss
                     significantly narrowing the number of claims asserted and prior art
  August 8, 2024     references at issue. Unless the parties agree to the narrowing, they
                     are ordered to contact the Court’s Law Clerk to arrange a
                     teleconference with the Court to resolve the disputed issues.

September 5, 2024    Close of Fact Discovery.

September 12, 2024   Opening Expert Reports.

 October 10, 2024    Rebuttal Expert Reports.

 October 31, 2024    Close of Expert Discovery.

                     Deadline for the second of two meet and confers to discuss
                     narrowing the number of claims asserted and prior art references at
                     issue to triable limits. To the extent it helps the parties determine
November 7, 2024     these limits, the parties are encouraged to contact the Court’s Law
                     Clerk for an estimate of the amount of trial time anticipated per
                     side. The parties shall file a Joint Report within 5 business days
                     regarding the results of the meet and confer.

                     Dispositive motion deadline and Daubert motion deadline.
November 14, 2024    See General Issues Note #7 regarding providing copies of the
                     briefing to the Court and the technical adviser (if appointed).

                     Serve Pretrial Disclosures (jury instructions, exhibits lists, witness
November 27, 2024
                     lists, discovery and deposition designations).

December 2, 2024     Oppositions to dispositive motions and Daubert motions

December 9, 2024     Replies in support of dispositive motions and Daubert motions

December 12, 2024    Serve objections to pretrial disclosures/serve rebuttal disclosures.



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        Deadline                                         Item

                        Parties email the Court’s law clerk to confirm pretrial and trial
   December 12, 2024
                        dates: Txwdml_lawclerks_wa_judgealbright@txwd.uscourts.gov

   December 19, 2024    Serve objections to rebuttal disclosures; file Motions in limine.

                        File Joint Pretrial Order and Pretrial Submissions (jury
   December 30, 2024    instructions, exhibits lists, witness lists, discovery and deposition
                        designations); file oppositions to motions in limine

                        File Notice of Request for Daily Transcript or Real Time
                        Reporting. If a daily transcript or real time reporting of court
     January 2, 2025    proceedings is requested for trial, the party or parties making said
                        request shall file a notice with the Court and e-mail the Court
                        Reporter, Kristie Davis at kmdaviscsr@yahoo.com

     January 2, 2025    Deadline to file replies to motions in limine

                        Deadline to meet and confer regarding remaining objections and
     January 6, 2025
                        disputes on motions in limine.

                        File joint notice identifying remaining objections to pretrial
    January 13, 2025
                        disclosures and disputes on motions in limine.

    January 16, 2025    Final Pretrial Conference.

    February 10, 2025   July Selection/Trial




SIGNED THIS 15th DAY OF September, 2023.



                                                ____________________________________
                                                ALAN D ALBRIGHT
                                                UNITED STATES DISTRICT JUDGE




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